B18 (Official Form 18) (12/07)

                                    United States Bankruptcy Court
                                                   District of Arizona
                                            Case No. 4:13−bk−10806−BMW
                                                       Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   DENNIS M CHILES                                           DAWN MENDEZ−CHILES
   1257 E KELSI                                              1257 E KELSI
   SAN TAN VALLEY, AZ 85140                                  SAN TAN VALLEY, AZ 85140
Social Security / Individual Taxpayer ID No.:
   xxx−xx−1965                                              xxx−xx−8963
Employer Tax ID / Other nos.:



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 10/16/13                                             Brenda Moody Whinery
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




   Case 4:13-bk-10806-BMW Doc 30 Filed 10/16/13 Entered 10/18/13 22:38:26                                     Desc
                        Imaged Certificate of Notice Page 1 of 4
B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




   Case 4:13-bk-10806-BMW Doc 30 Filed 10/16/13 Entered 10/18/13 22:38:26                                        Desc
                        Imaged Certificate of Notice Page 2 of 4
                                       United States Bankruptcy Court
                                            District of Arizona
In re:                                                                                  Case No. 13-10806-BMW
DENNIS M CHILES                                                                         Chapter 7
DAWN MENDEZ-CHILES
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0970-4           User: admin                  Page 1 of 2                   Date Rcvd: Oct 16, 2013
                               Form ID: b18                 Total Noticed: 48


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 18, 2013.
db/jdb        +DENNIS M CHILES,    DAWN MENDEZ-CHILES,    1257 E KELSI,    SAN TAN VALLEY, AZ 85140-4428
cr            +JPMORGAN CHASE BANK, N.A.,     Patricia Doyle-Kossick, PLC,    4500 S. Lakeshore Drive,    Suite 575,
                Tempe, AZ 85282-7187
cr            +Wells Fargo Bank N.A.dba Wells Fargo Dealer Servic,      c/o Jaburg & Wilk, P.C.,
                3200 N. Central Ave Ste. 2000,     Phoenix,, AZ 85012-2440
12352274      +A Speedy Cash Car,    Title Loans, LLC,    1242 B W. Main Street,     Mesa AZ 85201-7029
12352276      +AAA Auto Loan,    DBA Cash 1,    1203 W. University Drive,    Mesa AZ 85201-5417
12352277      +AAA Auto Title Loans,    CASH 1,    1203 W. University Drive,     Mesa AZ 85201-5417
12383819       ARIZONA DEPARTMENT OF ECONOMIC SECURITY,     OFFICE OF ACCTS RECEIVABLE & COLLECTIONS,     P O BOX 60,
                PHOENIX AZ 85001-0060
12352278      +American Family,    P.O. Box 9462,    Minneapolis MN 55440-9462
12352282      +CASH TIME TITLE LOANS, INC.,     4205 W GLENROSA AVE,    PHOENIX, AZ 85019-3308
12482476      +CHECKSMART,    c o Jefferson Capital Systems LLC,     PO BOX 7999,    SAINT CLOUD MN 56302-7999
12352280      +Cap One,    26525 N Riverwoods Blvd,    Mettawa IL 60045-3438
12352283      +Cash Time Title Loans,    1801 E. Main Street,     Mesa AZ 85203-9021
12352286      +Combs Unified School District,     301 E. Combs Rd.,,    Queen Creek AZ 85140-9164
12352287      +Commercial Check Control,     7250 Beverly Blvd., #200,    Los Angeles CA 90036-2560
12352288       Corp Amer,    2075 Big Timber Rd,    Elgin IL 60123-1140
12352292      +Creditacpt,    25505 W 12 Mile,    Southfield MI 48034-8316
12352295      +Disney Movie Club,    P.O. Box 758,    Neenah WI 54957-0758
12352296      +Edc/Mid-America Apartm,     6584 Poplar Ave Ste 300,    Memphis TN 38138-0620
12352297       Elite Podiatry PLLC,    PMB 274-16605 E. Palisades, #110,     Fountain Hills AZ 85268
12352298       Gecrb/Broy,    Po Box 981439,    El Paso TX 79998-1439
12352300      +Go Clean Family,    270 E. Hunt Highway, #16-321,     San Tan Valley AZ 85143-4962
12352301      +Home Tv & Appliance,    4630 E. Ray Rd.,    Gilbert AZ 85296-8483
12352302      +Hsbc Bank,    Po Box 60501,    City of Industry CA 91716-0501
12352305      +Orchard Bank C/O Capital One,     HSBC Card Services,    P.O. Box 60501,
                City of Industry CA 91716-0501
12352306      +Progressive Direct,    P.O. Box 31260,    Tampa FL 33631-3260
12352307      +Rac Acceptance,    5501 Headquarters Dr,    Plano TX 75024-5837
12352310      +Scorpian Tech,    P.O. Box 30718,    Mesa AZ 85275-0718
12352311      +Simi Imaging,    One City Blvd West, Suite 1100,     Orange CA 92868-3647
12352312      +Sirius XM Radio,    P.O. Box 78054,    Phoenix AZ 85062-8054
12352313      +Sonora Quest Labs,    P.O. Box 52880,    Phoenix AZ 85072-2880
12352314      +State of California,    Franchise Tax Board,     P.O. Box 942867,    Sacramento CA 94267-0001
12352315      +Telecheck Services,    C/O TRS Recovery,    P.O. Box 17450,    Denver CO 80217-0450
12352316       Valley Endocrine,    517 S. 63rd Street, #105,     Mesa AZ 85206
12352318    ++WACHOVIA DEALER SERVICES INC,      BK DEPARTMENT,    PO BOX 19657,    IRVINE CA 92623-9657
              (address filed with court: Wfds/Wds,      Po Box 1697,    Winterville NC 28590)
12352319      +Wfhm,    3476 Stateview Blvd,    Fort Mill SC 29715-7203

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr           +EDI: BGEMILLS.COM Oct 17 2013 00:48:00      GAYLE ESKAY MILLS,     P.O. BOX 36317,
               TUCSON, AZ 85740-6317
smg           EDI: AZDEPREV.COM Oct 17 2013 00:48:00      AZ DEPARTMENT OF REVENUE,     BANKRUPTCY & LITIGATION,
               1600 W. MONROE, 7TH FL.,   PHOENIX, AZ 85007-2650
12352275     +E-mail/Text: bankruptcy@speedyinc.com Oct 17 2013 00:58:48        A Speedy Cash Car Title Loans, LLC,
               1242 B W Main,   Mesa AZ 85201-7029
12352279     +EDI: AZDEPREV.COM Oct 17 2013 00:48:00      Arizona Department of Revenue,     P.O. Box 52138,
               Phoenix AZ 85072-2138
12482476     +EDI: JEFFERSONCAP.COM Oct 17 2013 00:48:00       CHECKSMART,    c o Jefferson Capital Systems LLC,
               PO BOX 7999,   SAINT CLOUD MN 56302-7999
12352285     +EDI: CHASE.COM Oct 17 2013 00:48:00      Chase,    201 N Walnut Street Mailstop De1-1027,
               Wilmington DE 19801-2920
12352284     +EDI: CHASE.COM Oct 17 2013 00:48:00      Chase,    Po Box 15298,    Wilmington DE 19850-5298
12352290     +EDI: RCSFNBMARIN.COM Oct 17 2013 00:48:00       Credit One Bank,    Po Box 98875,
               Las Vegas NV 89193-8875
12352299      EDI: RMSC.COM Oct 17 2013 00:48:00      Gecrb/Care,    Po Box 981439,    El Paso TX 79998-1439
12352303     +EDI: HFC.COM Oct 17 2013 00:48:00      Hsbc Bank,    Po Box 30253,    Salt Lake City UT 84130-0253
12352304      E-mail/Text: HWIBankruptcy@hunterwarfield.com Oct 17 2013 00:59:14        Hwarfield,
               3111 West Mlk,Jr Bvd,2nd Floor,    Tampa FL 33607
12352294      EDI: IRS.COM Oct 17 2013 00:48:00      Department of Treasury,     Internal Revenue Service,
               P.O. Box 1301,   Charlotte NC 28201
12352308     +EDI: SALMAESERVICING.COM Oct 17 2013 00:48:00       Sallie Mae,    11100 Usa Pkwy,
               Fishers IN 46037-9203
12352317     +EDI: WFFC.COM Oct 17 2013 00:48:00      Wells Fargo,    3476 Stateview Blvd,
               Fort Mill SC 29715-7200
                                                                                                TOTAL: 14




      Case 4:13-bk-10806-BMW Doc 30 Filed 10/16/13 Entered 10/18/13 22:38:26                            Desc
                           Imaged Certificate of Notice Page 3 of 4
District/off: 0970-4                  User: admin                        Page 2 of 2                          Date Rcvd: Oct 16, 2013
                                      Form ID: b18                       Total Noticed: 48


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
12485625*      +CHECKSMART,    c o Jefferson Capital Systems LLC,    PO BOX 7999,                    SAINT CLOUD MN 56302-7999
12486163*      +CHECKSMART,    c o Jefferson Capital Systems LLC,    PO BOX 7999,                    SAINT CLOUD MN 56302-7999
12486346*      +CHECKSMART,    c o Jefferson Capital Systems LLC,    PO BOX 7999,                    SAINT CLOUD MN 56302-7999
12352281*      +Cap One,    26525 N Riverwoods Blvd,    Mettawa IL 60045-3438
12352289*       Corp Amer,    2075 Big Timber Rd,    Elgin IL 60123-1140
12352291*      +Credit One Bank,    Po Box 98875,    Las Vegas NV 89193-8875
12352293*      +Creditacpt,    25505 W 12 Mile,    Southfield MI 48034-8316
12352309*      +Sallie Mae,    11100 Usa Pkwy,    Fishers IN 46037-9203
                                                                                                                    TOTALS: 0, * 8, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 18, 2013                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 16, 2013 at the address(es) listed below:
              GAYLE ESKAY MILLS   gaylemills@earthlink.net, AZ28@ecfcbis.com
              JANESSA ERIN KOENIG    on behalf of Creditor   Wells Fargo Bank N.A.dba Wells Fargo Dealer
               Services and Wells Fargo Auto Finance jek@jaburgwilk.com, jxb@jaburgwilk.com
              JOHNATHAN DWAYNE DENNY    on behalf of Debtor DENNIS M CHILES jd@dennylawoffices.com,
               connie@dennylawoffices.com
              JOHNATHAN DWAYNE DENNY    on behalf of Joint Debtor DAWN MENDEZ-CHILES jd@dennylawoffices.com,
               connie@dennylawoffices.com
              PATRICIA DOYLE-KOSSICK     on behalf of Creditor   JPMORGAN CHASE BANK, N.A. pdkecf@cox.net
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                             TOTAL: 6




        Case 4:13-bk-10806-BMW Doc 30 Filed 10/16/13 Entered 10/18/13 22:38:26                                                 Desc
                             Imaged Certificate of Notice Page 4 of 4
